               Case 2:23-cv-05764-JTM-MBN Document 1-2 Filed 10/04/23 Page 1 of 52
                                                     State of Louisiana
                                                     Secretary of State

                                                                                                   Legal Services Section
                                                              09/06/2023                 P.O. Box 94125, Baton Rouge, LA 70804-9125
                                                                                                         (225)922-0415




     GEOVERA SPECIALTY INSURANCE COMPANY
     C/O CORPORATION SERVICE COMPANY
     450 LAUREL STREET, 8TH FLOOR
     BATON ROUGE, LA 70801



     Suit No.: 845233
     24TH JUDICIAL DISTRICT COURT
     JEFFERSON PARISH

     CHIFICI ENTERPRISE, ET AL
     vs
     CERTAIN UNDERWRITERS AT LLOYD'S, LONDON, ET AL



     Dear Sir/Madam:

     I am enclosing a citation served in regard to the above entitled proceeding. If you are not the intended recipient of
     this document, please return it to the above address with a letter of explanation. AII other questions regarding this
     document should be addressed to the attorney that filed this proceeding.




                                                                                     Yours very truly,

                                                                                     R. KYLE ARDOIN
                                                                                     Secretary of State




Served on: R. KYLE ARDOIN                                              Date: 09/05/2023
Served by: B GARAFOLA                                                  Title: DEPUTY SHERIFF



                                                                                                   No:1298958
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KC
                 Case 2:23-cv-05764-JTM-MBN
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     (101) CITATION: PETITION FOR DAMAGES/EXHIBIT-STANDING CASE
     MANAGEMENT ORDER/ EXHIBIT-STANDING ORDER FOR DISASTER
     DISCOVERY PROTOCOLS/ EXHIBIT; INTERIM PROTECTIVE ORDER/                                                 230826-2490-1
     EXHIBIT-STANDING CASE MANAGEMENT ORDER EXHIBIT A: LIST OF
     APPOINTED NEUTRALS;

                                             24TH JUDICIAL DISTRICT COURT
                                                 PARISH OF JEFFERSON
                                                  STATE OF LOUISIANA

      CHIFICI ENTERPRISE D/B/A DEANIES SEAFOOD
       versus
     CERTAIN UNDERWRITERS AT LLOYDS LONDON,
     INDIAN HARBOR INSURANCE COMPANY, QBE
     SPECIALTY INSURANCE COMPANY, STEADFAST
     INSURANCE COMPANY, GENERAL SECURITY
     INDEMNITY COMPANY OF ARIZONA, UNITED
                                                                                   Case: 845-233 Div: "O"
     SPECIALTY INSURANCE COMPANY, LEXINGTON
                                                                                   P 1 CHIFICI ENTERPRISE
     INSI~JRANCE COMPANY, HDI GLOBAL SPECIALTY SE,
     OL[~ REPUBLIC UNION INSURANCE COMPANY,
     GEOVERA SPECIALTY INSURANCE COMPANY,                                                                 Sa:RVE-D ON
     TRANSVERSE SPECIALTY INSURANCE COMPANY,                                                           R_ KYI.E A}IDO IT4?
     HARTFORD STEAM BOILER INSPECTION AND
     INSURANCE COMPANY, TRAVELERS CASUALTY AND                                                          o EP 0 5 2623
                                                                                                        O
     SURETY COMPANY OF AMERICA
                                                                                                  SECRETARY OF STAf'F
     To: GEOVERA SPECIALTY INSURANCE COMPANY                                                     COMME6ZCs AL DE°v'iSlON
     THROUGH ITS REGISTERED AGENT FOR SERVICE
     OF PROCESS                                                                    SS#035059 $650.00
     LOUISIANA SECRETARY OF STATE                                                  EBR#035060 $566.16
     8585 ARCHIVES AVENUE
     BATON ROUGE LA 70809


    PARISH OF JEFFERSON


    You are hereby summoned to comply with the demand contained in the PETITION FOR
     DAMAGES/EXHIBIT -STANDING CASE MANAGEMENT ORDER/ EXHIBIT-STANDING
    ORDER FOR DISASTER DISCOVERY PROTOCOLS/ EXHIBIT-INTERIM PROTECTIVE
    ORDER/ EXHIBIT-STANDING CASE MANAGEMENT ORDER EXHIBIT A: LIST OF
    APPOINTED NEUTRALS

     of which a true and correct copy accompanies this citation, or make an appearance either by
    filing a pleading or otherwise, in the 24th Judicial District Court in and for the Parish of
    Jefferson, State of Louisiana, within TWENTY-ONE (21) CALENDAR days after the service
    hereof, under penalty of default.


    This service was requested by attorney JEANNE K. DEMAREST and was issued by the Clerk
    of Court on the 26th day of August, 2023.


                                                   /s/ Wendv R. Gaudet
                                                   Wendy R. Gaudet, Deputy Clerk of Court for
                                                   Jon A. Gegenheimer, Clerk of Court



                                                    SERVICE INFORMATION

     (101) CITATION: PETITION FOR DAMAGES/EXHIBIT -STANDING CASE
     MANAGEMENT ORDER/ EXHIBIT-STANDING ORDER FOR DISASTER
     DISCOVERY PROTOCOLS/ EXHIBIT-INTERIM PROTECTIVE ORDER/                                                   230826-2490-1
     EX,HIBIT-STANDING CASE MANAGEMENT ORDER EXHIBIT A: LIST OF
     AP:POINTED NEUTRALS;

     Received:                 Served:               Returned:
                                   Thomas F. Donelon Courthouse : 200 Derbigny St. : Gretna lA 70053
     S9Mce iga; made:
              Case 2:23-cv-05764-JTM-MBN Document 1-2 Filed 10/04/23 Page 3 of 52




              Personal                     _   Domicilary

Unable to serve:
          _ Not at this address                Numerous attempts          times
          _ Vacant                             Received too late to serve
          _ Moved                              No longer works at this address
          _ No such address                    Need apartment / building number
              Other

Service: $                  Mileage: $                       Total: $

Completed by:                                                           #
                          Deputy Sheriff
Parish of:




                              Thomas F. Donelon Courthouse : 200 Derbigny St. : Gretna LA 70053
Page 2 of 2
     Case 2:23-cv-05764-JTM-MBN Document 1-2 Filed 10/04/23 Page 4 of 52

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                                                                   JhalP-d M. PAaui.wrer, UY' CLERF,:
                                                                   1tFFER—MFd PARISH, U4




         24t'' JUDICAL DISTRICT COURT FOR THE PARISH OF JEFFERSON
                                                                           i
                                   STATE OF LOUISIANA                      j
                                                                           ~
    DOCKET NO.                                                                 DIVISION

                   CHIFICI ENTERPRISE DB/A DEANIE'S SEAFOOD

                                            VERSUS
                                                                           ~
            CERTAIN UNDERWRITERS AT LLOYD'S, LONDON
               INDIAN HARBOR INSURANCE COMPANY
               QBE SPECIALTY INSURANCE COMPANY
                  STEADFAST INSURANCE COMPANY ~
         GENERAL SECURITY INDEMNITY COMPANY OF1 ARIZONA
              UNITED SPECIALTY INSURANCE COMPANY
                 LEXINGTON INSURANCE COMPANY ~
                     HDI GLOBAL SPECIALTY SE
             OLD REPUBLIC UNION INSURANCE COMPANY
             GEOVERA SPECIALTY INSURANCE COMPANY
            TRANSVERSE SPECIALTY INSURANCE COIVIPANY
  THE HARTFORD STEAM BOILER INSPECTION AND INSURANCE COMPANY
       TRAVELERS CASUALTY AND SURETY COMPANY OF AMERICA



    FILED:
                                                                       DEPUTY CLERK

                                        HURRICANE IDA
                                  PETITION FOR DAMAGES                     ~


       The petition of CHIFICI ENTERPRISE D/B/A DEANIE'S SEAFOOD, a domestic

corporation domiciled in Jefferson Parish, State of Louisiana, respectfully represents that:

                                                 1.

       Made defendants herein are:
                                                  I
          A. CERTAIN UNDERWRITERS AT LLOYD'S, LONDON, upon information and

              belief, a foreign insurance company that is authorized to ~do and doing business in

              the State of Louisiana.              ;
                                                   ~
          B. INDIAN HARBOR INSURANCE COMPANY, upon'information and belief, a

              foreign insurance company that is authorized to do and doing business in the State

              of Louisiana.
                          .


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                Case 2:23-cv-05764-JTM-MBN Document 1-2 Filed 10/04/23 Page 5 of 52
    .       !

            i



        l   I
            ~




            ;       C. QBE SPECIALTY INSURANCE COMPANY, upon information and belief, a

            ~          foreign insurance company that is authorized to do and d'oing business in the State

                       of Louisiana.
            ;
                    D. STEADFAST INSURANCE COMPANY, upon information and belief, a foreign

                       insurance company that is authorized to do and doing , business in the State of

                       Louisiana.

                    E. GENERAL SECURITY INDEMNITY COMPANY OF ARIZONA, upon

                       information and belief, a foreign insurance company that is authorized to do and

                       doing business in the State of Louisiaria.

                    F. UNITED SPECgALTY INSURANCE COMPANY, upon information and belief,
            ~
                       a foreign insurance company that is authorized to do and doing business in the State

                       of Louisiana.

                    G. LEXINGTON INSURANCE COMPANY, upon information and belief, a foreign

                       insurance company that is authorized to do and doing; business in the State of

                       Louisiana.

                    H. HDI GLOBAL SPECIALTY SE, upon information and belief, a foreign insurance

                       company that is authorized to do and doing business in the State of Louisiana.

                    I. OLD REPUBLIC UNION INSURANCE COMPANY, upon information and

                       belief, a foreign insurance company that is authorized to' do and doing business in

                       the State of Louisiana.

                    J. GEOVERA SPECIALTY INSURANCE COMPANY, upon information and

                       belief, a foreign insurance company that is authorized to do and doing business in

                       the State of Louisiana.

                    K. TRANSVERSE SPECIALTY INSURANCE COMPANY, upon information and

                       belief, a foreign insurance company that is authorized to do and doing business in

                       the State of Louisiana.

                    L. HARTFORD          STEAM       BOILER         INSPECTION     AND      INSURANCE

                       COMPANY, upon information and belief, a foreign insurance company that is

                       authorized to do and doing business in the State of Louisiana.
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          M. TRAVELERS CASUALTY AND SURETY COMPANY OF AMERICA, upon
                                                                    ~
             information and belief, a foreign insurance company that is authorized to do and

              doing business in the State of Louisiana.

       Made defendants herein are truly and justly indebted unto your petitioner for the following
                                                                       i
reasons to wit:

                                                2.
                                                                        i
     At all times relevant herein, Petitioner, CHIFICI ENTERPRISE D/B/A DEANIE'S
                                                               ~
SEAFOOD, owned the following property ("Property") and contents located at 1713 LAKE
                                                              ,I
AVENUE, METAIRIE, LA 70006.
                                                               ,
                                                3.
                                                                        ;
       At all times relevant hereto, Defendants provided insurance to CHIFICI ENTERPRISE

D/B/A DEANIE'S SEAFOOD as follows: CERTAIN UNDERWRITERS AT LLOYD'S,
                                                     ~
LONDON (Policy Number AMR-62231-03), INDIAN HARBOR INSURANCE COMPANY

(Policy Number AMP7534158-03), QBE SPECIALTY INSURANCE COMPANY (Policy

Number MSP-25773-03), STEADFAST INSURANCE COMPANY (Policy Number
                                                   I
CPP1061394-03), GENERAL SECURITY INDEMNITY COMPANY OF ARIZONA
       ,                                          I
(Policy Number 1OT029659-09387-21-03), UNITED SPECIALTY INSURANCE

COMPANY (Policy Number USI-22438-03), LEXINGTON INSURANCE COMPANY

(Policy Number LEX-014711980-03), HDI GLOBAL SPECIALTY SE (Policy Number
                                                    %
HAN-19245-03), OLD REPUBLIC UNION INSURANCE COMPANY (Policy Number

ORAMPR003847-03), GEOVERA SPECIALTY INSURANCE COMPANY (Policy Number

GVS-10614-00), TRANSVERSE SPECIALTY INSURANCE COMPANY (Policy Number
                                                 ~
TSAMPR0000090-00), THE HARTFORD STEAM BOILER~ INSPECTION AND

INSURANCE COMPANY (Policy Number FBP2280613), TRAVELERS CASUALTY AND
                                                                        I
                                                                        ~
SURETY COMPANY OF AMERICA (Policy Number 105563638), said policy(ies) was in full
                                                                        ~
force and effect and covered the Properry at issue and the contents therein including loss of rents

and business income against perils including hurricanes, wind, hail, and/or water. Defendants
                                                                     I.
         Case 2:23-cv-05764-JTM-MBN Document 1-2 Filed 10/04/23 Page 7 of 52
1.




     placed a valuation upon the covered Property and the contents therein and used this valuation for
                                                                            i
     purposes of determining the premium charge to be made under the Policy at issue.

                                                    0

           On or about August 29, 2021, Hurricane Ida struck Southeast Louisiana as one of the most
                                                                            i
     powerful storms in U.S. history. As detailed by the U.S. National Weather Service, "Hurricane Ida

     made landfall as Category 4 Hurricane in Lower Lafourche Parish near Port Fourchon with

     maximum sustained wind speeds of 150 mph". A Category 4 storm with unprecedented winds,
                                                                    i
     Ida caused major damage to buildings throughout Southeast Louisiana, including the greater New

     Orleans area and surrounding parishes throughout this District. "The widespread damage spread

     well inland across Southeast Louisiana and Southern Mississippi as Hurricane Ida remained at

     hurricane strength into southwest Mississippi near McComb"

                                                     5.

            On or about August 29, 2021, Hurricane Ida damaged the exterior, interior, and roof of the

     Property, allowing water to infiltrate the interior as a direct result of i that damage and causing
                                                                               ~
     significant damage to and throughout the Property ("the Loss" or "Propierty Damage") which was

     covered under the Policy.

                                                     N

            The Property and contents therein were significantly damaged by and suffered a diminution

     in value because of Hurricane Ida. These significant Hurricane Ida Idamages to the Property

     (including the contents therein as well as lost rents and business income) occurred prior to any

     purported damage to the Property (or contents therein) by any non-covered peril, including any
                                                                             ~
     type of damage purportedly excluded by the policy.

                                                     7.

            CHIFICI ENTERPRISE D/B/A DEANIE'S SEAFOOD, property was inspected by its

     insurers, CERTAIN UNDERWRITERS AT LLOYD'S, LONDON, INDIAN HARBOR
                                                     ~
     INSURANCE COMPANY, QBE SPECIALTY INSURANCE COMPANY, STEADFAST
                                                     ~
     INSURANCE COMPANY, GENERAL SECURITY INDEMNITY COMPANY OF

     ARIZONA,        UNITED       SIPECIALTY        INSURANCE          COMPANY,         LEXINGTON

     INSURANCE COMPANY, HDI GLOBAL SPECIALTY SE, Oh.D REPUBLIC UNION
       Case 2:23-cv-05764-JTM-MBN Document 1-2 Filed 10/04/23 Page 8 of 52




INSURANCE         COMPNAY,        GEOVERA         SPECIALTY        INSURANCE         COMPANY,

TRANSVERSE SPECIALTY INSURANCE COMPANY, THE IHARTFORD STEAM

BOILER INSPECTION AND INSURANCE COMPANY, TRAVELERS CASUALTY AND

SURETY COMPANY OF AMERICA. Its claim was assigned a claim number ("the Claim" or

"Insurance Claim")



        Upon notification of the Loss, Defendants inspected the Property,' and provided an estimate

on the Claim. This estimate, however, grossly underreported the Property Damage.

                                                9.
                                                                         ~
        Defendants' inspection of the Property constituted satisfactory proof of loss, as that term

is used in conjunction with Louisiana's bad faith statutes, LA Rev. Stat. § 22:1892 and §22:1973.

                                                10.

        Defendants' adjustment of the Claim was unreasonably low, unrealistic, and failed to

provide the opportunity to properly conduct the needed repairs to the Property caused by Hurricane

Ida.

                                                11.

        As a result of Defendants refusing and/or failing to adjust the Claim fairly, undersigned

counsel was hired, and an expert adjuster was retained to inspect the Property and to document

and estimate Property Damage and/or the Claim.

                                                12.

        After Defendants' inspection of the Property, Plaintiff's expert adjuster inspected the

Property and created a report (the "Expert Report") documenting and detailing that the Property

had been damaged by Hurricane Ida and those amounts were required to be paid by Defendants

for repair, damages and/or reimbursement.

                                                13.

        Despite receiving this satisfactory proof of loss, Defendants have yet to tender adequate

insurance proceeds.
     Case 2:23-cv-05764-JTM-MBN Document 1-2 Filed 10/04/23 Page 9 of 52




                                                   14.

        Plaintiff has attempted to recover the full value of their covered clamages and/or insurance

proceeds due from Defendants to no avail.

                                                   15.

        Defendants' failure to comply with the terms of its own Policy caused and continues to

cause significant delay to the repair of the Property and additional cost,; mental pain and anguish,
                                                                             I

additional living expenses, rents, lost business income and general and/or special damages to

Plaintiffs.

                                                   16.

        Upon information and belief, relative to the Property Damage and/or Claim at issue,

Defendants acted intentionally and/or negligently when it:

              A. Failed to timely tender proceeds due after having received satisfactory proof of loss;
                                                                           i
              B. Misrepresented the terms and conditions of the Policy at, issue;

              C. Conducted the investigation and claims handling in bad faith;

              D. Manipulated and/or set its pricing software to artificially suppress the cost of repairs

                  below market value;

              E. Failed to adequately pay for losses as required by the Policy, and/or

              F. Failed to include adequate overhead and profit in its estimates of damages.

                                                    17:

        Plaintiff has incurred additional expenses and/or delays in; making repairs because

Defendants failed to timely pay for losses due under the Policy and/or for the Claim at issue.



        Plaintiff has incurred professional expenses, including expert and attorney's fees, to prove

that Defendants wrongfully failed to adequately/timely pay on the Claim at issue.

                                                    19.                      ,

        Plaintiff has sustained and continue to sustain mental anguish and inconvenience because

Defendants failed to timely pay for losses due under the Policy and/or for the Claim at issue.
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                                                 20.

       Plaintiff has incurred and will continue to incur loss of rents and business income as a result

of the damages caused to the Property by Hurricane Ida, including tho,se lost rents and business

income that will be incurred during additional repair of the Property.

                             BREACH OF INSURANCE CONTRACTi

                                                 21.

       All allegations contained in this Petition are hereby adopted and! re-alleged.

                                                 22.
                                                                          ~
       Despite having adequate proof of loss, Defendants failed to tirriely tender adequate funds

under the Policy.

                                                 23.

       At all material times herein, an insurance contract, the Policy,, existed between Plaintiff

and Defendants, which provided coverage for the Property Damage and/or the Hurricane Ida Claim

at issue herein.

                                                 24.                      1

        Upon information and belief, Defendants breached the Policy arid/or insurance contract by

intentionally and/or negligently:

            A. Failing to timely tender proceeds due after having received satisfactory proof of

                   loss;

            B. Misrepresenting the terms and conditions of the Policy at issue;

            C. Conducting the investigation and claims handling in bad faith;

            D. Manipulating and/or setting its pricing sofftware to artifi'cially suppress the cost of

                   repairs below market value;

            E. Failing to adequately pay for losses as required by the Policy, and/or
                                                                          ~

            F. Failing to include adequate overhead and profit in its estimates of damages.


                                                 25.

        Plaintiff has suffered and continue to suffer general, special and%or consequential damages

because of Defendants' breaches of the insurance contract.
        Case 2:23-cv-05764-JTM-MBN Document 1-2 Filed 10/04/23 Page 11 of 52

I




                                                BAI) FAITH

                                                     26.

           All allegations contained in this Petition are.hereby adopted and ire-alleged.

                                                      27.

           The actions and/or inactions of Defendants in failing to adequately compensate Plaintiff
                                                                                ~
    for the covered losses under the Policy were arbitrary, capricious, and without probable cause as

    those terms are used in conjunction with LA Rev. Stat. §§ 22:1892 and 22:1973, making

    Defendants liable for statutory bad faith penalties.



                                                      28.

           Under LA Rev. Stat. § 22:1973, an insurer owes a duty of good faith and fair dealing to an

    insured and has an affirmative duty to adjust claims fairly and promptly; failing to pay a claim in

    a manner arbitrary, capricious or without probable cause is in violation of LA Rev. Stat. § 22:1973.

                                                      29.

           "[F]ailing to pay the amount of any claim due any person insured by the contract within

    sixty days after receipt of satisfactory proof of loss from the claimant when such failure is arbitrary,

    capricious, or without probable cause" is considered "bad faith" and is in violation of LA Rev.

    Stat. § 22:1973.

                                                      30.

            LA Rev. Stat. § 22:1892 imposes bad faith penalties on an insurer who fail to adequately

    pay claims following satisfactory proof of loss within thirty (30) days, 'or fails to make a written

    offer to settle any property damage claim within thirry (30) days after receipt of satisfactory proofs

    of loss of that claim.

                                                      31.

            Defendants are in violation of LA Rev. Stat. § 22:1973 and §22:1892 for failing to provide
                                                                                I
    Plaintiff adequate payment in connection with the Property Damage and/or the Claim, despite

    having received satisfactory proof of loss following its own inspection(s) of the Property, and/or

    after Plaintiff provided expert documentation of the Property Damage and/or the Claim. Moreover,
    Case 2:23-cv-05764-JTM-MBN Document 1-2 Filed 10/04/23 Page 12 of 52




Defendants' failure to timely tender adequate payment was unjustified, and without reasonable or

probable cause or excuse.

                                                  32.

       Defendants are in violation of LA Rev. Stat. §§ 22:1973 and 22:1892 for failing to make a

written offer to settle the Property Damage and/or the Claim within thirty (30) days after receipt

of satisfactory proofs of loss of the Property Damage and/or the Claim. '

                                                  33.

       Upon information and belief, relative to the Properry Damage and/or Claim at issue,

Defendants acted in bad faith by arbitrarily and capriciously:          I
                                                                        ,
           A. Failing to timely tender proceeds due after having received satisfactory proof of

               loss;

           B. Misrepresenting the terms and conditions of the Policy at issue;

           C. Conducting the investigation and claims handling in bad ifaith;

           D. Manipulating and/or setting its pricing software to artificially suppress the cost of

               repairs below market value;

           E. Failing to adequately and/or timely pay insurance proceeds as required by the

               Policy and the relevant statute;

           F. Failing to make a written offer to settle within thirty (30) days affter receipt of
                                                                        ~
               satisfactory proofs of loss of the Claim; and/or,

           G. Failing to include adequate overhead and profit in its esti~mates of damages.

                                                  34.

       Upon information and belief, further evidence of Defendants' bad faith will be revealed

through the discovery process.

                                                  35.

       Plaintiff has suffered and continue to suffer general, special and/or consequential damages

because of Defendants bad faith.
        Case 2:23-cv-05764-JTM-MBN Document 1-2 Filed 10/04/23 Page 13 of 52
J




                                                DAlVIAGES

                                                    36.
                                                                                i
           All allegations contained in this Petition are hereby adopted and 're-alleged.

                                                    37.

           Defendants are liable to Plaintiff, relative to the Property Damage and/or Claim at issue,
                                                                                %
    under the following legal theories:

               A. Breach of contract;

               B. Bad faith and/or negligent claims adjusting practices, including but not limited to

                   failing to adequately adjust the Property Damage and/or the Claim,
                                                                                i
                   misrepresentation of the terms of the applicable insurancel Policy, purposeful and/or

                   negligent under-scoping of damages leading to a failure to pay the relevant claims,
                                                                                I
                   purposeful and/or negligent price manipulation leading to a failure to pay the
                                                                                ~
                   relevant claims, failure to pay timely for covered damaIges Defendants knew, or

                   should have known existed at the time of the original adji stment/inspection as well

                   as at the time of Defendants' receipt of the Expert Repoi-t, failing to timely tender
                                                                           I
                   adequate supplemental payment(s), etc., leading to vario~s general, special and/or
                                                                                ~
                   consequential damages, including but not limited to delayed and/or additional

                   repair costs, mental anguish, inconvenience, and the iricurrence of professional

                   and/or expert fees; and/or

               C. Any and all other legal theories of recovery that become apparent during the
                                                                                I
                   discovery process and provenl at the trial of this matter.

                                                    38.

            As a result of Defendants breaches of contract, bad faith claimi adjusting, and other bad

    acts, Plaintiff has incurred and/or sustained the following, non-exclusive damages:

                A. Diminution of the value of the Property;

                B. Underpayment and/or delayed payment of covered damiges/repair costs;

                C. Actual repair costs, temporary repair costs, as well as increased repair costs;
        Case 2:23-cv-05764-JTM-MBN Document 1-2 Filed 10/04/23 Page 14 of 52


e




              D. Loss of use and/or additional living expenses;

               E. Lost rent, revenue and business income;                   ;
                                                                            I
               F. Penalties delineated in. LA Rev. Stat. §§ 22:1892 and 22: i 973;
                                                                             ~
               G. Mental anguish, suffering, and/or inconvenience;           ;
                                                                             i
               H.   Attorneys' fees, other professional fees, and litigation costs associated with the

                    bringing of this action;

               I. Other general, special and/or consequential damages; and,

               J. Any and all other damages that are shown through discovery and/or proven at the

                    trial of this matter.

                                            PRAYER FOR RELIEF

           WHEREFORE, Plaintiff, CHIFICI ENTERPRISE DB/A !DEANIE'S SEAFOOD

    prays that the defendants, CERTAIN UNDERWRITERS AT LLOYD'S, LONDON, INDIAN

    HARBOR INSURANCE COMPANY, QBE SPECIALTY INSURANCE COMPANY,

    STEADFAST          INSURANCE             COMPANY,    GENERAL         SECURITY        INDEMNITY

    COMPANY          OF    ARIZONA, UNITED              SPECIALTY       INSURANCE         COMPANY,

    LEXINGTON INSURANCE COMPANY, HDI GLOBAL SPECIALTY SE, OLD

    REPUBLIC UNION INSURANCE COMPANY, GEOVERA SPE;CIALTY INSURANCE
                                                 I
    COMPANY, TRANSVERSE SPECIALTY INSURANCE COMPANY, THE HARTFORD
                                                 i
    STEAM BOILER INSPECTION AND INSURANCE COMPANY, TRAVELERS
                                                 I
    CASUALTY AND SURETY COMPANY OF AMERICA HARTFOR, CONNECTICUT, be
                                                 ~
    served with a copy of this petition and that after all legal delays it be required to answer same and
                                                                                 I
    after all proceedings, there be a judgment in favor of your Plaintiff, CHIFICI ENTERPRISE
                                                                                 i
    D/B/A DEANIES SEAFOOD, for all amounts commensurate with thiir damages, in such sums

    the Court deems just, together with legal interest, costs, and all gerieral and equitable relief

    allowed. Further, Plaintiff prays for relief and judgment against the Defendants as follows:
                                                                               i
               A. Compensatory, general and/or contractual damages;           ,i
               B. Consequential and/or special damages, including but not limited to those incurred
                                                                        ~
                  as a result of Defendants' bad faith;
                                                                         ~
Case 2:23-cv-05764-JTM-MBN Document 1-2 Filed 10/04/23 Page 15 of 52




     C. Penalties as a result of Defendants' bad faith;

     D. Attorneys' fees as a result of Defendants' bad faith;
                      ,
     E. Prejudgment interest at the highest lawful rate allowed by law;
                                                                       I
     F. Interest on the judgment at the highest legal rate from the date of judgment until

         collected;                                                    i

     G: Lost rents, revenue and business income;

     H. Additional living expenses;

     I. Mental anguish, suffering, and inconvenience;

     J. All expenses and costs of this action; and

     K. Such further relief as this Court deems necessary, just, and proper.


                                        Respectfully Submitted:

                                       Alvendia,


                                        ROD1;'RIM" CO'              VENDIA, 25554
                                        J. BART          Y Pff, 24488
                                        JEANNE K. DEMAREST, 23032
                                        KURT A. OFFNER, 28176
                                        JENNIFER KUECHMANN, 36886
                                        CASSIE P. GAILMOR, 33319
                                        909 Poydras Street, Suite 1625
                                        New Orleans, Louisiana 70112
                                        Telephone: (504) 200-000;0
                                        Facsimile: (504) 200-00011
                                        Email: jeanne akdlalaw.com
                          ,             rico@akdlalaw.com
                                        bart@alcdlalaw.com
                                        kurt@akdlalaw.com         ~
                                        jennifergakdlalaw.com
                                        cassie@alcdlalaw.com


                                        ATTORNEYS FOR




                                                          A TR//ON
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    PLEASE SERVE:
    CERTAIN UNDERWRITERS AT LLOYD'S, LONDON
    Through Its Registered Agent for Service of Process
    LOUISIANA SECRETARY OF STATE
    8585 Archives Avenue
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    CERTAIN UNDERWRITERS AT LLOYD'S, LONDON
    (Via Long Arm)
    Through Its Registered Agent for Service of Process
    LLOYD' S AMERICA, INC.
    280 Park Avenue, East Tower, 25th Floor
    New York, NY 10017
    INDIAN HARBOR INSURANCE COMPANY
    Through Its Registered Agerit for Services of Process
    LOUISIANA SECRETARY OF STATE
    8585 Archives Avenue
    Baton Rouge, LA 70809

    INDIAN HARBOR INSURANCE COMPANY
    (Via Long Arm)
    Through Its Registered Agent for Service of Process
    SARAH MIMS, GENERAL COUNSEL
    505 Eagleview Boulevard, Suite 100
    Exton, PA 19341-1120


    QBE SPECIALTY INSURANCE COMPANY
    Through Its Registered Agent for Service of Process
    LOUISIANA SECRETARY OF STATE
    8585 Arcliives Avenue
    Baton Rouge, LA 70809

    QBE SPECIALTY INSURANCE COMPANY
    Through Its Registered Agent for Service of Process
    CT CORPORATION SYSTEM
    3867 Plaza Tower Drive
    Baton Rouge, LA 70816

    STEADFAST INSURANCE COMPANY
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    8585 Archives Avenue
    Baton Rouge, LA 70809

    STEADFAST INSURANCE COMPANY
    (Via Long Arm)                                      ~
    Through Its Registered Agent for Service of Process ~
    GENERAL COUNSEL, LAW :DEPARTMENT, STEADFAST INSURANCE COMPANY
    1299 Zurich Way                                     ~
    Schaumburg, IL 60196                                ~
    GENERAL SECURITY INDEMNITY COMPANY OF ARIZON
    Through Its Registered Agent for Service of Process
    LOUISIANA SECRETARY OF STATE
    Case 2:23-cv-05764-JTM-MBN Document 1-2 Filed 10/04/23 Page 17 of 52




8585 Archives Avenue
Baton Rouge, LA 70809

GENERAL SECURITY INDEMNITY COMPANY OF ARIZONA
(Via Long Arm)
Through Its Registered Agent for Service of Process
RODOLPHE HERVE, CEO
28 Liberty Street, Suite 5400
New York, NY 10005
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(Via Long Arm)
Through Its Registered Agent for Service of Process
MAXINE VERNE, GENERAL LEGAL COUNSEL
28 Liberty Street, Suite 5400
New York, NY 10005

UNITED SPECIALTY INSURANCE COMPANY
Through Its Registered Agent for Service of Process
LOUISIANA SECRETARY OF STATE
8585 Archives Avenue
Baton Rouge, LA 70809

UNITED SPECIALTY INSUIl2ANCE COMPANY
(Via Long Arm)
Through Its Registered Agent for Service of Process
TERRY L. LEDBETTER
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LEXINGTON INSURANCE COMPANY
Through Its Registered Agent for Service of Process
LOUISIANA SECRETARY OF STATE
8585 Archives Avenue
Baton Rouge, LA 70809

LEXINGTON INSUlIANCE COMPANY
(Via Long Arm)                                      '
Through Its Registered Agent for Service of Process
DIVISION EXECUTIVE, COMERCIAL  M           PROPERTY
99 High Street
Boston, MA 02110
LEXINGTON INSURANCE COMPANY
(Via Long Arm)
Through Its Registered Agent for Services of Process
AIG PROPERTY CASUALTY U.S.
175 Water Street —18th Floor
New York, NY 10038

LEXINGTON- INSURANCE COMPANY
(Via Long Arm)
Through Its Registered Agent for Service of Process
LEXINGTON INSURANCE COMPANY
99 High Street
Boston, MA 02110
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Through Its Registered Agent for Service of Process
LOUISIANA SECRETARY OF STATE
8585 Archives Avenue
Baton Rouge, LA 70809

HDI GLOBAL SPECIALTY SE
(Via Long Arm)
Through Its Registered Agent for Service of Process
MENDES & MOUNT, LLP
750:Seventh'Avenue
New York, NY 10019
OLD REPUBLIC UNION INSURANCE COMPANY
Through Its Registered Agent for. Service of Process.
LOUISIANA SECRETARY _OF STATE
8585 Archives Avenue
Baton Rouge, LA 70809

OLD REPUBI:IC UNION INSURANCE COMPANY
(Via Long Arm)
Through Its Registered Agent for Service of Process
OLD REPUBLIC SPECIALTY INSURAN.CE UNDERWRITERS, INI
Attn: Office of General Counsel
370 North Michigan Avenue
Chicago, IL 60601


GEOVERA SPECIALTY INSURANCE COMPANY
Through Its Registered Agent for Service of Process
LOUISIANA SECRETARY OF STATE
8585 Archives Avenue
Baton Rouge, LA 70809

GEOVERA SPECIALTY INSURANCE COMPANY
(Via Long Arm)
Through Its Registered Agent for Service of Process
GEOVERA HOLDINGS, INC.
Attn: Robert Hagedorn, General Counsel
1455 Oliver Road -
Fairfield, CA 94534
TRANSVERSE SPECIALTY INSURANCE COMPANY
Through Its Registered Agent for Service of Process
LOUISIA.NA SECRETARY OF STATE
8585 Archives Avenue
Baton Rouge, LA 70809

TRANSVERSE SPECIALTY INSURANCE COMPANY
(Via Long Arm)
Through Its Registered Agent for Service of Process
CORPORATESECRETARY
155 Village Boulevard, Suite 205
Princeton, NJ 08540
 THE HARTFORD STEAM BOILER INSPECTION AND INS                 COMPANY
 Through Its Registered Agent for Service of Process
 LOUISIANA SECRETARY OF STATE
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         Baton Rouge, LA 70809

         TRAVELERS CASUALTY AND SURETY COMPAIVY OF AMERICA
         Through Its Registered Agent for Service of Process
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         8585 Archives Avenue
         Baton Rouge, LA 70809
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                                       24T" JUDICIAL DISTRICT COURT FOR THE PARISH OF
                                                                                                                JEFFERSON

                                                                           STATE OF LOUISIANA


                                                                  IN RE: HURRICANE IDA CLAIiVIS


                             FILED:
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                                              STANDING CASE MANAGEMENT ORDER REGARDING
                                       CERTAIN PROPERTY DAMAGES SUITS ARISING FROM HURR
                                                                                       ICANE IDA
                                         On August 29, 2020, Hurricane Ida came ashore near Port Fourchon, Louisia
                                                                                                                                   na
                             and traveled through Jefferson Parish. As a Category 4(near 5)
                                                                                                          hurricane, it was the fifth                N
                                                                                                                                                    O
                                                                                                                                                    ~
                             strongest storm to ever Impact the United States. Hurricane                                                            W
                                                                                                          Ida tied the Last Island                  c~
                                                                                                                                                    a
                                                                                                                                                    n.
                             Hurricane in 1856 and Hurricane Laura in 2020 as the strongest to strike Louisia                                       ~
                                                                                                              na, based                             ~
                                                                                                                                                    0
                             on wind speed. The President of the United States issued                                                               ~
                                                                                                         a Declaration of a Major                   Y
                                                                                                                                                    0
                                                                                                                                                    0
                            Disaster for the State of Louisiana on August 29, 2021. (See                                                            m
                                                                                                           FEMA-4611-DR.) The                       w
                                                                                                                                                 c9
                            Declaration expressly includes Jefferson Parish as an "adversely                                                     a
                                                                                                             affected area by this
                                                                                                                                                 0
                                                                                                                                                 ~
                            major disaster."' Major Hurricane-force winds, with gusts in excess                                                  0
                                                                                                             of 155 mph, covered                 a
                                                                                                                                                 Do
                                                                                                                                                 Lr)
                            the entirety of Jefferson Parish, and inflicted catastrophic damage                                                  1~-
                                                                                                           throughout this Court's               0
                                                                                                                                                 0
                                                                                                                                                 C7
                            jurisdiction. Hurricane Ida may sometimes hereinafter be referred to as                                              N
                                                                                                                  the "Hurricane,"               7

                            and the causes of action arising therefrom may sometimes                                                             0
                                                                                                                                                 0
                                                                                                          be referred to as "the
                                                                                                                                                ~0
                            Hurricane Cases."                                                                                                   ~•~
                                                                                                                                                ~o~
                                        In the aftermath of this catastrophic natural disaster, this Court recognizes                           N
                                                                                                                                                M
                                                                                                                              that it           ~
                                                                                                                                                ~
                                                                                                                                                ~
                           will soon preside over substantial volumes of insurance coverage-rela                                                ~
                                                                                                                                                ~
                                                                                                               ted litigation linked
                                                                                                                                                ~
                           to the Hurricane. Additionally, and like so many other courts across the globe, this                                 a
                                                                                                                                                n.
                                                                                                                              Court             LL.
                                                                                                                                                ~
                                                                                                                                                w
                           has faced significant challenges to conducting court business for the better part of                                 ~
                                                                                                                            a year,             ~
                                                                                                                                                a
                           as a result of the on-going COVID-19 pandemic. The residents and                                                     ~
                                                                                                                    businesses of
                                                                                                                                                N
                                                                                                                                                ~
                           Louisiana have similarly struggled to cope with the negative economic impact of                                      M
                                                                                                                           COVID-               N
                                                                                                                                                0
                                                                                                                                                N
                           19, even before Hurricane Ida.                                                                                       r~
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                                                                                                                                                LL
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                           ~ https://www.fema.gov/disaster-federal-register-notice/4611-dr-la-initial-notice


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                                          In the weeks following Hurricane Ida, many related
                                                                                                   lawsuits will be filed and be
                                   pending before this Court. In Act 318 of the 2020
                                                                                             Regular Session the Louisiana
                                   Legislature amended the laws expanding judicial authority
                                                                                             related     to special masters and
                                   mandatory mediation in cases stemming from certain major
                                                                                            disast       ers ("Act 318").z
                                          Act 318 authorizes this Court to enter this CMO, and
                                                                                                    after consultation with and
                                   upon the recommendation of the Special Master and in consid
                                                                                                     eration of the high volume
                                   of cases from Jefferson Parish in state and federal courts
                                                                                                , this Court finds it warranted to
                                   enter this CMO to best accommodate the adjudication of
                                                                                                Hurricane Cases in this Court.
                                          Accordingly, this Court's aim continues to be the just and
                                                                                                     exped     ient resolution of
                                   these related matters, in spite of the increased strain on
                                                                                                the Court's resources, and with
                                 the primary goal of enabling the Jefferson Parish community
                                                                                                   to move forward with cruciai
                                 recovery efforts, in the aftermath of Hurricane Ida, and the
                                                                                                      COVID-19 pandemic. In
                                 consideration of these aims and the law, after due consideratio
                                                                                                    n of the Case Management
                                 Orders and discovery protocols implemented by the 14th Judici
                                                                                                       al District Court and the
                                 U.S. District Court for the Westem District of Louisiana follow
                                                                                                     ing Hurricanes Laura and
                                 Delta, the 24'h Judicial District Court issues the instant Case Mana
                                                                                                         gement Order, to-wit:
                                         IT IS HEREBY ORDERED that this Case Management
                                                                                        Order shall be
                                                                                                                                             ,
                              immediately applicable to all Hurricane Cases.

                                            SECTION 1. DISASTER PROTOCOLS FOR INITIAL DISCOVERY

                                         The Court has reviewed the Disaster Litigation Initial Discovery
                                                                                                            Disaster Protocols
                              adopted by 14th Judicial District Court and the U.S. District Court for the Weste
                                                                                                                      rn District
                              of Louisiana following Hurricanes Laura and Delta filed in those courts
                                                                                                           . The Federal Court
                             considered the Disaster Protocols implemented by the U.S. District Court
                                                                                                               for the Southern
                             District of Texas following Hurricane Harvey. The 14th Judicial Distric
                                                                                                            t Court considered
                             the Disaster Protocols implemented by the Federal Courts. These
                                                                                                        Disaster Protocols call
                             for prompt sharing of specific information to promote uniformity,
                                                                                                           to facilitate prompt
                             evaluation of each case, to foster communication between the parties, and to
                                                                                                                    facilitate an



                             2     See La. R.S. 13:4165(F).


        -`~`;'~`or~~ rl~                                        Standing Case Management Order
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                            expedited mediation procedure. Accordingly, :on                        , 7.Q72, this Couri issued a
                           Standing Order r`or Disaster D€scovery Protocols in Certain Praper
                                                                                              ty Darrrag               e Suits
                           Arising from Hurr'icane Ida ("Disaster Discovery Protocols") therefore,

                                     €T IS Pt3RTHER aRDEREI;9 that the Disaster aiscovery Pi-otocois €nitial
                                                                                                                    Discovery
                           Protocois are deemed incorporated into this CNiO irr extenso and
                                                                                                         are applicable to all
                           HLrrricane Cases filed in this Court. The disclosures and exchange of infarm
                                                                                                        ation         required
                           by the Disaster Discovery Protocols Order issued on
                                                                                                                %022 shall be
                           due forty--five (45) days from the date that defendant files responsive
                                                                                                              pleadings: This
                           deadline may somefimes hereiriafter be referred to as the °Disclo
                                                                                                         sure Deadl'rne." No
                           extension or delay in ₹ he time to file responsive plead€ngs shall extend
                                                                                                               the Disclosure
                           DOadline to more thian 75 days from the original deadline to file respon
                                                                                                              sive pleadings
                           unless the extension is by the consent of all parties or pursuant to an
                                                                                                            e:cpress Order of
                           the Court.

                                    €T IS t=URTHER t?RDERED that each party shal€ supplement
                                                                                             their Initial
                           Disclosures at least fifteen (15) days prior to ariy schedu€ed rrrediat
                                                                                                         ion pursuant to the
                           C€v10.

                                    Nothing in this Sectiori prevents other discover-y in accordance with the
                                                                                                                   provisions
                           of the Code of Civil Procedure, except that requ.ests for subpoenas
                                                                                                      and subpoenas ctuces
                           tecum shall not be submitted during the SSP without pre-approval
                                                                                                      of the Special iVtaster
                       or leave of the Court.

                                        SECTtOfd 2. SPECIAL MASTER AND APPCDiI`dTEf.3 NEt1TRALS

                                    Considering the foregoing reasons supplied by the Court in the introdu
                                                                                                                ction, strpra,
                       the Court finds that exceptional circumstances exist which Lvarrant the appointment
                                                                                                                         of a
                       Special Master to ass€st with the efficient and fair adrninistration of all Hurricane
                                                                                                                      Cases.
                       Pursuant to the Court's inherent judicial power and its authority Linder La. R.S.
                                                                                                                    'i3:41o5,
                       et seq,

                                    ET iS I~URTHER ORDERED that JONATHAN C. PEDERSEN, SLAIR C

                       CONSTANT and DONALD MASSEY, are herebv appointed as the Speciai Master
                                                                                              s
                       (here€nafter "Special Ulaster") for Hurricane Cases in the 24th Jtrdicial District Court.



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                                             As part of this appointment, the Court mandates that the Special Master
                                                                                                                                 shall
                                       proceed with all reasonable diligence, and shall exercise the respec
                                                                                                                   tive rights and
                                    responsibilities to direct the Streamlined Settlement Process ("SSP"
                                                                                                              ) as provided in this
                                    Order.

                                             IT IS HEREBY FURTHER ORDERED that the Appointed Neutrals,
                                                                                                                     referenced in
                                    Section 3(B)(2)(a), fnfra, are hereby appointed and shall proceed
                                                                                                               with all reasonable
                                    diligence and shall exercise their rights and responsibilities under
                                                                                                                  the Streamlined
                                   Settlement Process ("SSP") as the Special Master may direct.

                                            A.     The Special Master. The Special Master shall administer, coordinate,
                                                                                                                                  and
                                            preside over the SSP. This authority includes the power to order
                                                                                                                    parties and/or
                                            party representatives with full power of settlement to submit briefings,
                                                                                                                        engage in
                                            discovery, and attend settlement conferences. Nothing in this part shall
                                                                                                                              prevent
                                            regular formal discovery or motions to compel to be filed with and heard
                                                                                                                               by the
                                            assigned District Judge.


                                            B.     Compensation of Special Master and Appointed Neutrals. The Special

                                            Master and all other appointed neutrals under the SSP (the "Appointed Neutra
                                                                                                                                 ls")
                                            shall be compensated in the amount of:

                                                   (1)     $400 per hour for the Special Master;

                                                   (2)     $400 per hour for the Appointed Neutrals;

                                                   (3)     $250 per case for the Special Masterfor administrative expenses in
                                                           administering, scheduling, organizing, and coordinating the
                                                           Streamlined Settlement Process for each case amongst the parties
                                                           as well as with the Appointed Neutrals and shall be paid by the
    :                                                      parties at the time their respective initial pleadings are filed; and

                                                  (4)      AII actual expenses of the Special Master and Appointed Neutrals,
                                                           including but not limited to travel, meeting rooms and video
                                                           conference means.

                                           Unless otherwise directed by mutual agreement of the parties or as otherwise•
                                           directed by the Special Master, all of the above fees and expenses shall be paid
                                           twenty-five percent (25%) by the plaintiff(s) and seventy-five (75%) by the
                                           defendant(s).




                                                                   Standing Case Management Order
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                                    C.     Role of Special Master and Appointed Neutrals

                                           (1)    The Special Master and Appointed Neutrals may communicate ex
                                                  parte with the Court when deemed appropriate by the Court, or the
                                                  Special Master, without providing notice to the parties, including
                                                  communication certifying that the parties have compiied with the
                                                  requirements of the SSP.

                                          (2)     The Special Master and Appointed Neutrals may initiate contact and
                                                  communicate with counsel for any party as he or she deems
                                                  appropriate with respect to the efficient administration and
                                                  management of the SSP.

                                          (3)     The Special Master and Appointed Neutrals, the parties, and those
                                                  assisting the foregoing shall be bound by the confidentiality of the
                                                  settlement discussions.

                                          (4)    The Special Master may designate any of the Appointed Neutrals to
                                                 act as his deputy from tirne to time and to perform any duties of the
                                                 Special Master.

                                   D.     Notice of Opt-Out Motion to the Special Master. Any party to a Hurricane
                                          Case may file a motion with the assigned District Judge requesting an opt
                                          out from the SSP for good cause shown, which motion must be filed within
                                          the time delay contained in Section 3, infra.

                                   IT IS FURTHER ORDERED that any party filing an opt out motion shall copy the

                         Special Master, and that the parties shall provide notice of the Court's Order on the motion

                         to opt out to the Special Master, regardless whether the motion to opt out is granted or

                         denied.

                                   IT IS FURTHER ORDERED that counsel for any party to a Hurricane Case that

                         has been provided a copy of this Order shall be required to provide email notice to the

                         Special Master of the initial pleadings and all subsequent filings in any Hurricane Case

                         (knowledge of this provision is presumed where counsel for the party has been provided

                         a copy of this Order). The Special Master shall send an Initial Informational Package on

                        the SSP to all parties and/or counsel of record for Hurricane Cases subject to the SSP.




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                                     SECTION 3. STREAMLINED SETTLEMENT PROCESS ("SSP")

                                 Within 30 days of the filing of the defendant's responsive pleading (or within 15

                          days of the transmittal to their counsel of a copy of this Order, including by electronic or

                          other means - whichever is later), either party may file a motion to opt
                                                                                                            out of this
                          Streamlined Settlement Process ("SSP") for good cause shown. A motion to
                                                                                                             opt-out of
                          the SSP is not a responsive pleading for any deadline contained in this CMO. Unless
                                                                                                                     the
                          Court authorizes an opt-out, the parties shall participate in the three-stage Stream
                                                                                                                   lined
                          Settlement Process, which is described as follows:

                                A.     First Stage: Initial Settlement Conference with Special Master. Within
                                       30 days of the Disclosure Deadline in all Hurricane Cases, all parties shall
                                       participate in an informal settlement conference with the Special Master or
                                       his Deputy. In light of the COVID-19 pandemic as well as the desire
                                                                                                         to
                                       resolve the Hurricane Cases as expeditiously as possible, settlement
                                       conferences should be conducted, where possible, by phone or audiovisual
.                                      communication, including but not limited to Zoom, Skype, or similar
                                       platforms. Counsel for each plaintiff and for each defendant must have full
                                       authority from their clients to resolve the case, who shall be readily available
                                       by telephone if circumstances for that particular settlement confere
                                                                                                           nce
                                       require assistance.


                                B.     Second Stage: Mediation. Cases that do not resolve during the initial
                                       settlement conference shall be set for a formal mediation. The Special
                                       Master shall assign each Hurricane Case to an Assigned Neutral from the
                                       court approved list found in Paragraph B(2) of this Subsection, and it is the
                                      goal that Assigned Neutrals complete mediation within 70 days of
                                      appointment. The Special Master (or Appointed Neutral for the case) may
                                      set a scheduling conference, or communicate with counsel about availability
                                      through other means, but shall seek to schedule the mediations in an
                                      expeditious manner at mutually convenient times and dates for all parties.
                                       (1)    Conduct of Mediation.
                                             (a)    After scheduling of an agreed mediation, counsel for each
                                                    party shall submit confidential statements solely to the
                                                    appointed neutral. The appointed neutral shall determine,
                                                    after conferring with the parties, on the length of the




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                                                    confidential mediation statements and the permi
                                                                                                    ssible
                                                    number of exhibits attached thereto.
                                            (b)    Plaintiff(s) shall be present in-person along with couns
                                                                                                          el
                                                   (subject to accommodations approved by the
                                                                                                      case's
                                                   Appointed Neutral). Defense counsel shall also attend
                                                                                                         in-
                                                   person. A representative from defendant(s) is encou
                                                                                                          raged to
                                                   attend, but unless otherwise directed by the Special
                                                                                                            Master
                                                   the defendant(s) representative shall not be required to
                                                                                                           attend
                                                   if counsel for the defendant has full authority to resolve
                                                                                                              the
                                                   case. In addition, a representative of the defendant shall be
                                                   readily available by telephone, if circumstances for that
                                                   particular mediation require assistance.
                                          (c)      To the extent agreed by the parties and the case's Appoi
                                                                                                     nted
                                                   Neutral, this mediation conference may be conducted by
                                                   phone or other means of electronic audio or video
                                                   communication, including but not limited to Zoom, Skype, or
                                                   similar platforms.
                                          (d)      As part of this Streamlined Settlement Process, the attend
                                                                                                              ees
                                                   may each make opening statements but there shall be no
                                                                                                                live
                                                   witness testimony.
                                   (2)    Approved Neutrals. The Court hereby initially designates
                                                                                                   and
                                          appoirits the following individuals as "neutrals" (mediators) for
                                                                                                                the
                                          SSP:
                                          (a)     Any person designated by the Special Master after
                                                  consultation with the Court who is qualified pursuant to R.S.
                                                  13:4165(F)(5)(6), including:
                                                  Hon. Carolyn Gill-Jefferson (ret.) Hon. "Rusty" Knight (ret.)
                                                  Hon, Cornelius Regan (ret.)        Hon.Ronald J. Sholes (ret.)
                                                  Hon. Franz Ziblich (ret.)          Ashley Bass, Esq.
                                                  Jacques Bezou, Esq.                Robert Raymond, Esq.
                                                  Blair C. Constant, Esq.            Bobby M. Harges, Esq.
                                                  Michelle Craig, Esq.               Ross Legarde, Esq.
                                                  Fred Herman, Esq.                  Jonathan Pedersen, Esq.
                                                  Donald Massey, Esq.                Chadwick J. Mollere, Esq.
                                                  Roger A. Javier, Esq.              Bryan Reuter, Esq.
                                                  Ronald L. Faia, Jr., Esq.          Hon. Glenn Ansardi (ret.)
                                                  Joseph Hassinger, Esq.             Stacy Palowsky, Esq.
                                                  Brigid Collins, Esq.



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  •                                                 Standing Case Management Order
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                                                    (b)    Any person designated as a neutral pursuant to any Case
                                                           Management Order that the U.S. District Court for the
                                                                                                                 Easte
                                                                                                                     rn
                                                           District of Louisiana may enter in connection with Hurric
                                                                                                                    ane
                                                           !da cases.
                                             (3)    Neutral Training. The Special Master may undertake
                                                                                                       to provide
                                                    special training to the neutrals, including coordinating
                                                                                                               participation in
                                                    training prepared for the Streamlined Settlement Proce
                                                                                                                     ss. The
                                                    Special Master and his Deputy may jointly form a plaint
                                                                                                             iffs' liaison
                                                    committee and a defense liaison committee or may coord
                                                                                                               inate with
                                                    any related Federal Court liaison committees for Hurricane
                                                                                                                Cases. If
                                                    formed, the Special Master or his Deputy may solicit
                                                                                                              input and
                                                    responses concerning commonly occurring legal issues
                                                                                                                     that the
                                                    liaison committees, from experience, believe may arise in a
                                                                                                                         large
                                                   number of these cases, along with relevant case
                                                                                                            law or other
                                                   authority addressing these issues. While the ultimate determ
                                                                                                                    ination
                                                   of any such common issue may well be fact driven, and the
                                                                                                                 outcome
                                                   of any legal issue will be determined by the Court, the Speci
                                                                                                                 al Master
                                                   or his Deputy may seek this information in order to educate
                                                                                                                 and fully
                                                   prepare the appointed neutrals with the hope of expediting
                                                                                                                            the
                                                   settlement process. The Special Master or his Deputy may
                                                                                                                    facilitate
                                                   discussions by and among the appointed neutrals to promo
                                                                                                                    te, to the
                                                   extent possible, consistency in the resolution of cases.
                                            (4)    Neutral Reponting. Within 5 days of the mediation date, the Neutral
                                                   shall inform the Special Master of the outcome of the media
                                                                                                                    tion.
                                            (5)    Stipulation for Mediation. The Neutral, the Parties and counsel for
                                                   the parties must execute the Stipulation for Mediation attached
                                                   hereto as Exhibit A.


                                     C.    Third Stage: Final Settlement Conference with Special Master. In
                                                                                                                            the
                                           event a case does not settle during the Mediation Phase, the partie
                                                                                                                      s shall
                                           participate in a final settlement conference with the Special Maste
                                                                                                                     r or his
                                           Deputy. The Special Master should aspire to conduct this final settle
                                                                                                                       ment
                                           conference within 45 days of receiving notice from the Neutral
                                                                                                                 that a
                                           particular case did not settle during the mediation phase. To facilitate this
                                           final settlement conference, the Special Master or his Deputy may require
:                                          the parties to submit additional mediation statements and set restrictions
                                           upon the number and type of exhibits attached thereto. The Special Maste
                                                                                                                             r



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                                       or his Deputy may also communicate with the Neutral who conduc
                                                                                                                ted the
                                       mediation so as to facilitate a productive final settlement
                                                                                                         conference. A
                                       scheduling order will not be entered by the Court unless the
                                                                                                         Special Master
                                       or his Deputy have filed a certificate into the record attestin
                                                                                                      g that all parties
                                       have participated in the final settlement conference with the Specia
                                                                                                               l Master
                                       or his Deputy.
                                D.    Extensions of Time. Upon a joint request by the parties, for
                                                                                                            other good
                                      cause shown, or for case management purposes, the Special
                                                                                                   Master or his
                                      deputy may extend any deadline specified in this Order by up to
                                                                                                      .15 days.

                              SECTION 4. COURT APPOINTED UMPIRES REQUIRED UNDER
                                                                                                     POLICIES
                               If an Insurance policy implicated in a Hurricane Case provide
                                                                                                           s for court
                      appointment of a neutral or third appraiser for valuation disputes (herein
                                                                                                     after referred to
                      as an "Umpire"), any request for the appointment by this Court of an Umpire
                                                                                                             shall only
                      occur if the parties have been unable to agree on their own.

                               A.     Where Parties HAVE been allowed to Opt Out of the SSP. If any party
                                      has been permitted to opt out of the SSP following a timely motion for the
                                      same, any party requesting appointment of an Umpire shall file a motion
                                      requesting same with the case's assigned District Judge, which motion shall
                                      be set for contradictory hearing. Counsel for either or both the Insured and
                                      the Insurer may also submit a joint motion requesting appointment of an
                                      Umpire to the Civil Duty Judge, who may agree to hear the motion during
                                      their respective duty week.

                               B.     Where Parties Nave NOT Opted Ouf of the SSP. In all other cases, any
                                     request for the appointment by the Court of an Umpire shall be made in
                                     writing no later than 14 days following the filing of the defendant's
                                     responsive pleading. Any motion or request for this Court's appointment of
                                     an Umpire shall be submitted to the Special Master in the same manner as
                                     provided for a discovery dispute under the SSP, and the parties shall notify
                                     the Special Master arid transmit the Umpire request to the Special Master
                                     via email at jcpedersen@specialmasterservices.com. The deadline may be
                                     extended by the Special Master in exceptional circumstances.

                               C.    Umpire-On1y Filing. If a requesting party is seeking court appointment of
                                     an Umpire and no case is otherwise filed or pending before this Court (an
                                     "Umpire Only Filing"), then the parties shall follow the same procedures in



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                                      Subsection 4(1). Any such request shall be made in writing no later
                                                                                                              than 14
                                      days following the filing of the defendant's responsive pleading, and any
                                      such motion or request for this Court's appointment of an Umpire
                                                                                                     shall be
                                      referred to the Special Master under the above captioned general
                                                                                                       docket
                                      created for the Hurricane Cases. The parties shall notify the Special Master
                                      and transmit the Umpire request to the Special Master via email at
                                      icpedersen(&-specialmasterservices.com. The deadline may
                                                                                               be extended
                                      by the Special Master in exceptional circumstances.
                                      (1)    An Insurer is required to provide written notice of the request to
                                                                                                        any
                                             known counsel for the Insured (or directly to an unrepresented
                                             Insured). An Insured is required to provide written notice of the
                                             request to any known counsel of Insurer (if any) or alternatively to
                                             the Insurer's primary point of contact on the claim with Insured. The
                                             appraisers previously selected by each party shall also be provided
                                             notice, and their contact information (phone and email address) shall
                                             be provided in the request for appointment of an Umpire.
                                      (2)    A written report and recommendation following the Umpire
                                                                                                           's
                                             appointment shall be issued to the parties, and shall be deemed
                                             applicable to the parties in the same manner as if made by an order
                                             of the Court unless the report and recommendation is overturned by
                                             the assigned District Judge following a motion filed with the assigned
                                             District Judge within seven days of transmittal of the written report.
                                      (3)    In an Umpire Only Filing, the Special Master shall provide the report
                                             and recommendation to the parties, who will in turn provide the same
                                             to the civil Duty Judge as of the time of the issuance of the report
                                             and recommendations. Similarly, the recommendation shall be
                                             deemed applicable to the parties in the same manner as if made by
                                             an order of the Court unless the report and recommendation is
                                             overturned by the civil Duty Judge following a motion filed with the
                                             civil Duty Judge within seven days of transmittal of the written report.


                                                                                                                                  ~
                                            SECTION 5. CLERK OF COURT AND NOTICE                                                  ~
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                               A.    Any Plaintiff filing a Hun-icane Case should note on its cover letter to the                 N
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                                     Clerk, in af! CAPS type and red font (if possible) that the matter is a                      117
                                                                                                                                  0
                                     "HURRICANE CASE." Each caption and on each                                                   0
                                                                                                          pleading,               ►ii
                                     "HURRICANE CASE" in bold print shall follow the docket number. If                            J
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                                     the Special Master leams the Order has not been entered by the Clerk of




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                                                             Court, he sliap seive it on the parties by email and
                                                                                                                                                                                        may file proof of the
                                                             sanie into tiie record at no cosl.
                                                 0           In ail Hurricane Cases, a copy of this Ordcr shall
                                                                                                                         be served on the
                                                             der"endant(s) along with the F'etifiifln and Citatian. The Clerk of
                                                                                                                                 Court shall
                                                             inClude a reterence that the Case Manageinent Order is
                                                                                                                            ser<ved with the
                                                             Petition in the Citation Issued, The Clerk of Court
                                                                                                                                                                              shall also provide a capy
                                                             to the plainfiiff by any authorized means.
                                                 C           The Clerk of Court shall transmit via eniail, at least weekl
                                                                                                                      y, to the Special
                                                             Master the docket numE3ers, case caption, and attorney contac
                                                                                                                           t information
                                                            for any Hurricane Cases filed.
                                                '7          Any party makir,g any fiGng in a Hurricane Case
                                                                                                                                                                          subject to this Order shail
                                                            serve a courtesy copy on the Special Master in the sGn1e
                                                                                                                                 manner as
                                                            enrolled counsel via email at i~ci.lederser7(r~.sro
                                                                                                         c      eci7Anasferservices.coni.

                                                                                      SECTtON 6. COURT SUPERVIS@ON

                                                The Disaster Discovery Protocols and Strear7ilined Settlenient Proce
                                                                                                                    ss shall, at all
                               times, be subject to the iiltimate control atid supervisioti of the
                                                                                                                                                                                             Court. This Case
                               iLrianagement C3rder for Hurricane Cases is subject to modification pursu
                                                                                                                                                                                                         ant to further
                               orders of tfiis Couifi. Ail provisions of fihis Order shall become effective
                                                                                                                                                                                            December '1, 2022
                               and sliali .be applicable to all cases whether then pending or thereafter fded.
                                                                                                                                                         ~
                                               D(3NE AND SIGNED this                                           ' :            day af                 ;': °.::....
                                                                                                                                                            :: : : .....
                                                                                                                                                                     :                                    ~ , 2022, at
                                                                           Jefiferson Parish, l.ouisiana.




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                               24T" JUDICIAL DISTRICT CO.URT FOR THE PARISH OF
                                                                                                    JEFFERSON

                                                           STATE OF LOUISIANA


                                                     IN RE: HURRICANE IDA CLAIMS


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                              STIPULATION FOR MEDIATION IN STREAMLINED SETTLEMENT PROGR
                                                                                                                  AM
                                 IT IS HEREBY STIPULATED AND AGREED by and between the
                                                                                                           undersigned
                         parties:
                              1. The parties have agreed to submit their dispute to mediation pursuant to the SSP,
                                 as specified in the Standing Case Management Order (and any relevant
                                 amendments).


                              2. No party shall be bound by anything said or done during the mediation,
                                                                                                                 unless
                                 either a written and signed stipulation is executed, or the parties enter into a written
                                 and signed agreement. The appointed neutral may meet in private conference with
                                 less than all parties. Information obtained by the neutral, either in written or oral
                                 form, shall be confidential and, except as provided by Order of the Court, it shall
                                 not be revealed by the neutral unless and until the party who provided that
                                 infomnation agrees to its disclosure.


                              3. The mediation process shall be considered a settlement negotiation for the
                                 purpose of all federal and state rules protecting disclosures made during such
                                 conferences from later discovery or use in evidence. The entire procedure shall be
                                confidential, and no stenographic or other record shall be made except to
                                memorialize a settlement record. AII communications, oral or written, made during
                                the mediation by any party or a party's agent, employee, or attorney are
                                confidential and, where appropriate, are to be considered work product and
                                privileged. Such communications, statements, promises, offers, views and
                                opinions shall not be subject to any discovery or admissible for any purpose,
                                including impeachment, in any litigation or other proceeding involving the parties.
                                Provided, however, that evidence otherwise subject to discovery or admissible is
                                not excluded from discovery or admission in evidence simply as a result of it having
                                been used in connection with this mediation process.




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                             4. The appointed neutral and his or her agents shall have the same immunity
                                                                                                                    as
                                judges and court employees have under Louisiana law and jurisprudence
                                                                                                                  from
                                liability for any act or omission in connection with the mediation, and
                                                                                                                  from
                                compulsory process to testif}I or produce documents in connection with
                                                                                                                   the
                                mediation.


                             5. The parties (i) shall not call or subpoena the appointed neutral as a witness or
                                expert in any proceeding relating to: the mediation, the subject matter
                                                                                                        of the
                                mediation, or any thoughts or impressions which the appointed neutral may
                                                                                                          have
                                about the parties in the mediation, and (ii) shall not subpoena any notes,
                                documents or other material prepared by the appointed neutral in the course of or
                                in connection with the mediation, and (iii) shall not offer into evidence any
                                statements, views or opinions of the appointed neutral.


                             6. Any party to this Stipulation is required to attend at least one mediation session
                                and as may be directed by the Special Master as many other sessions thereafter
                                as may be helpful in resolving this dispute.


                             7. An individual with final authority to settle the matter and to bind the party shall
                                attend the mediation on behalf of each party.


                                Dated:



                                First PlaintifPs Signature                        First Defendant's Signature



                                Second Plaintiffs Signature                       Second Defendant's Signature



                                Counsel for Plaintiff                             Counsel for Defendant


                                                                                                                                   ~
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                                Counsel for Plaintiff                             Counsel for Defendant                            N
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                          24T" JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                                                           STATE OF LOUISIANA


                                                     IN RE: HURRICANE IDA CLAIMS


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                           STANDING ORDER FOR DISASTER DISCOVERY PROTOCOLS
                      IN CERTAIN PROPERTY DAMAGE SUITS ARISING FROM HURRICANE IDA

                             This Court hereby issues the following Standing Order establishing protocols

                     for discovery ("Disaster Discovery Protocols") for all cases involving first-party

                     insurance property damage claims arising from Hurricane Ida ("Hur(cane Cases"),

                                   IT IS ORDERED that within forty-five (45) days after the defendant's

                     submission of a responsive pleading or motion, the parties must exchange any

                      documents or information listed in these Disaster Discovery Protocols, for any such

                    time periods identified in these Disaster Discovery Protocols.

                             IT IS FURTHER ORDERED that all parties shall remain under an ongoing

                    duty to supplement their responses. No extension or delay in the time to file

                    responsive pleadings shall extend the Disclosure Deadline to more than seventy

                    (75) days from the original deadline to file responsive pleadings unless the

                    extension is by the consent of all parties or pursuant to an express Order of this

                    Court. Nothing in this Section prevents other discovery in accordance with the

                    provisions of the Code of Civil Procedure except the restriction on subpoenas and

                    subpoenas duces tecum articulated in Section 1 of the Standing Case

                    Management Order Regarding Certain Property Damages Suits Arising From

                    Hurricane Ida issued onDeceat~6a' 1'1 , 2022.




    Lti c~r ~• -~                                  Standing Order for Disaster Discovery Protocols
                                                              Hurricane Ida Litigation


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                                IT IS FURTHER ORDERED that a party may object to disclosure
                                                                                                             of these
                        Disaster Discovery Materials only if the material is Privileged as
                                                                                                  that term is defined
                        herein. Any party withholding disclosure of any information or
                                                                                                  documents, where
                        said disclosure is required pursuant to the Disaster Protocols,
                                                                                                    shall produce a
                        privilege log to opposing counsel on or before the Disclosure Deadlin
                                                                                                              e. This
                          privilege log shall detail all information or documents that it declined
                                                                                                       to produce on
                      the basis that the material is privileged. The log should include the
                                                                                                       author of the
                      document, the recipient of the document, the date of the document, and
                                                                                                          the nature
                      of the privilege asserted.

                                Any dispute concerning privileged items shall be resolved by contradictory

                      motion before the assigned District Judge. The District Judge may direct that the

                      disputed items be provided to the Court for in camera inspection prior to
                                                                                                the
                      hearing of the motion.

                               IT IS FURTHER ORDERED that on belief of a party that good cause exists as

                      to why a particular case should be exempted from the Disaster Protocols, in
                                                                                                               whole
                      or in part, that party must file their objection with the Court prior to the expiration

                      of the 45-day period set forth herein.

                                                  DISASTER DISCOVERY PROTOCOLS

                      PART 1: INTRODUCTION AND DEFINITIONS.

                               (1)    Statement of purpose.

                                      a.     These Disaster Discovery Protocols apply to cases invofving first-
                                             party insurance property damage claims arising from natural
                                             disasters ("Disaster Cases"). The Disaster Protocols are designed to
                                             be implemented by trial judges, lawyers, and litigants in state and
                                             federal courts. The Disaster Protocols make it easier and faster for
                                             the parties and their counsel to: (1) exchange important information
                                             and documents early in the case; (2) frame the issues to be resolved;
                                            (3) value the claims for possible early resolution; and (4) plan for
                                            more efficient and targeted subsequent formal discovery, if needed.
                                      b.    The Disaster Protocols are not intended to preclude or modify any
                                            party's rights to formal discovery as provided by law or other
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                                          applicable rules. Responses to the Disaster Protocols do not
                                                                                                       waive
                                          or foreclose a party's right to seek additional discovery under
                                                                                                          the
                                          applicable rules.
                                   C.     Except as modified by the Court, these Disaster Discovery
                                                                                                          Protocols
                                          were prepared by a balanced group of highly experienced
                                                                                                attorneys
                                          from across the country with expertise in Disaster Cases.
                                                                                                      The
                                          Disaster Protocols require parties to exchange information and
                                          documents routinely requested in every disaster case.
                                                                                                      The
                                          information and documents required to be produced include
                                                                                                       s
                                          favorable as well as unfavorable information and documents, is
                                          limited to information and documents that are not subject
                                                                                                              to
                                          objection, and is limited to the information and documents most likely
                                          to be important and useful in facilitating early settlement discussion
                                         and resolving or narrowing the issues.
                            (2)   Definitions. The following definitions apply to these Disaster Discovery
                                  Protocols:

                                  a.     Claimed loss. "Claimed Loss" means the loss or damage that the
                                         Insured seeks to recover from the Insurer in the litigation.

                                  b.     Document. "Document" and '•documents" are defined to be
                                         synonymous in meaning and equal in scope to the phrase
                                         "documents or electronically stored information" in FRCP 34(a)(I )(A)
                                         or similar state rules. A draft of a document or a nonidentical copy is
                                         a separate document.

                                  C.     Event. "Event" means the disaster alleged to have caused the
                                         Insured's Claimed Loss.

                                  d.     Identify (Documents). When referring to documents, to "identify"
                                         means to describe, to the extent known: (i) the type of document; (ii)
                                         the general subject matter; (iii) the date; (iv) the author(s), according
                                         to the document; and (v) the person(s) to whom, according to the
                                         document, the document (or a copy) was to have been sent.
                                         Altematively, to "identify" a document means to produce a copy.

                                  e.    Identify (Natura! Persons). When referring to natural persons, to
                                        "identify" means to give the person's: (i) full name; (ii) present or last
                                        known address and telephone number; (iii) email address; (iv)
                                        present or last known place of employment; (v) present or last known
                                        job title; and (vi) relationship, if any, to the parties. Once a person
                                        has been identified in accordance with this subparagraph, only the
                                        name of that person need be listed in response to subsequent
                                        requests to identify that person.

                                  f.    Identify (Non-Natural Persons or Entities). When referring to a
                                        corporate entity, partnership, or other unincorporated association, to
                                        "identify" means to give the: (i) corporate or entity name and, if
                                        known, the trade or other names under which it has done business
                                        during the relevant time period; (ii) state of incorporation or
                                        registration; (iii) address of its principal place of business; (iv) primary
                                        phone number; and (v) internet address. Once a corporate or other
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                                           business entity has been identified in accordance with this
                                           subparagraph, only the name of that entity needs to be listed in
                                           response to subsequent requests to identify that entity.

                                    g.     lnsurer. "Insurer" means any person or entity alleged to have
                                           insured the Property that is the subject of the operative complaint,
                                           unless otherwise specified.

                                    h.     Insured. "Insured" means any named individual(s), corporate
                                           entity(ies), partnership(s), or other unincorporated association(s)
                                           alleging property damage as an Insured in the litigation, or asserting
                                           a claim under an assignment.

                                           Loss. "Loss" means damage to the Property caused by the Event.

                                           Other Insurance. "Other Insurance" means any insurance policy,
                                           other than the Policy in force on the date of the Event, that covers or
                                           potentially covers the Property or the Claimed Loss.

                                    k.     Policy. "Policy" means the insurance policy alleged to cover some
                                           or aIl of Insured's Claimed Loss that is the subject of the Insured's
                                           claim in the litigation.

                                    I.     Privilege. "Privilege" means information and documents that are
                                           protected from disclosure by the attomey-client privilege, or work-
                                           product protection, including any joint defense agreement. privilege
                                           may properly be asserted include communications that reflect the
                                           mental impressions, conclusions, opinions, or theories of an
                                           attorney. Documents routinely prepared in the ordinary course of
                                           business, including but not limited to adjusters' reports, and other
                                           expert analyses, including draft reports, are not privileged and should
                                           be produced.

                                    M.     Property. "Property" means the property (building or contents) that
                                           the Insured claims coverage for under the Policy in the litigation.

                                    n.     Relafing to. "Relating to" means concerning, referring, describing,
                                           evidencing, or constituting.

                             (3) Instructions.

                                    a.     The relevanttime period forthis Disaster Discovery begins on the date
                                           immediately before the Event and ends on the date the Iawsuit is filed
                                           for the Claimed Loss, unless a different time period is indicated with
                                           respect to a specific production obligation as set out inPart 2 or Part
                                           3 below.

                                    b.     This Disaster Discovery is presumptively not subject to any
                                           objections except for attorney-client privilege or work-product
                                           protection, including a joint defense agreement. Documents withheld
                                           based on a privilege or work-product protection claim are subject to
                                           expressly making the claim. A detailed privilege log is required as
                                           specified in this Order or any subsequent Orders of the Court,
                                           otherwise documents withheld as privileged or work-product
                                           protected communications may be described briefly by category or
                                           type. Withholding documents on this basis does not alleviate any
                                           obligation to produce the withheld documents or additional
                                           information about them at a later date, if the Court orders or the
                                           applicable rules require production.
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                                       C.       lf a partial or incomplete or "unknown at this time" answer
                                                                                                                  or
                                                production is given to any disclosure requirement in these Disaste
                                                                                                                   r
                                                Discovery Protocols, the responding party must state the reason that
                                                the answer or production is partial, incomplete, or unknown and
                                                when supplemental information or documents providing a complete
                                                response will be produced.

                                      d.        For this Disaster Discovery, a party must disclose information and
                                             documents that the disclosing party has in its possession, custody,
                                             or control and that are reasonably available. This Disaster Discovery
                                             is subject to obligations on supplementation and relevant
                                             requirements concerning certification of responses. This Initial
                                             Discovery does not preclude either party from seeking additional
                                              discovery at a later date.
                                      e.     This Disaster Discovery is subject to the attached Interim Protective
                                             Order unless the parties agree or the court orders otherwise. The
                                             Interim Protective Order will remain in place until and unless the
                                             parties agree on, or the court orders, a different protective order.
                                             Absent party agreement or court order, the Interim Protective Order
                                             does not apply to subsequent discovery.

                                      f.     Within 14 days after the filing of a responsive pleading by the
                                             responding party, the Parties shall meetand confer on the format
                                             (e.g., searchable PDF, Excel spreadsheet) for the production of
                                             documents under these Disaster Protocols. Thiswill not delay the
                                             timeframes for Initial Discovery, absent court order. Nor will
                                             production in one format preclude requesting production in another
                                             format, if applicable rules of discovery allow.
                       PART 2: INFORMATION AND DOCUMENTS TO BE PRODUCED BY THE INSURED

                               (1)    Timing.

                                      Unless the Court orders otherwise, the Insured's Initial Discovery responses
                                      must be provided within 45 days after the Insurer has submitted a
                                      responsive pleading or motion (its first filing in this Court.)

                               (2)   Information to be produced by the Insured:

                                      a.     A description of the Insured's ownership or other interest in the
                                             Property.

                                     b.      The address of the Property (or location of movable Property) on the
                                             date of the Event.

                                     C.      The name of each Insurer and all policy numbers for each Policy or
                                             Other Insurance held by or potentially benefitting the Insured or the
                                            Property on the date of the loss, including relevant policy and claim
                                            numbers for any claims.

                                     d.     Identify any current mortgagee or other known lien holder.

                                     e.     A computation of each item or type of Claimed Loss, including
                                            contents claims if in dispute. When the Policy requires, the
                                            computation should reasonably identify or itemize price and quantity
                                            of materials.


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                                           Identify any payments received under the Policy relating to the Event.
                                           Identify the source and amount of any payments received after the
                                           Event from Other Insurance, or any other source, for all or any part
                                           of the Loss.

                                    g.     Identify any grant or other similar program that the Insured applied
                                           for after the Event, including a Small Business Administration Ioan,
                                           seeking payment for all or any part of the Loss.

                                    h.     Identify the public or other adjusters, estimators, inspectors,
                                           contractors, engineers, or other persons engaged by or on behalf of
                                           the Insured relating to the Claimed Loss.

                                           With respect to any Other Insurance, all policy numbers, the name of
                                           each insurer, and claim and docket numbers for any claims madefor
                                           coverage by the Insured on the same Property at issue in this
                                           litigation.

                                    j.     Identify the source and amount of any payments received after the
                                           Event from Other Insurance, or any other source, for all or any part
                                           of the Loss.

                                    k.     A general description, including the court and docket number, of any
                                           other lawsuits arising from the Event relating to the Property.

                                           A general descrip'tion of any known preexisting damage to the
                                           Property relating to the Claimed Loss.

                                    M.     A general description of any claims for property damage or lawsuits
                                           resulting from property damage in the past ten years relating to the
                                           Property.

                                   n.      ldentify any sale, transfer, or foreclosure of the Property after the
                                           Event.

                             (3)   Complete and unaltered copies of the following documents to be produced
                                   by the Insured:

                                   a.     Documents relating to the Claimed Loss, including: loss estimates;
                                          adjuster's reports; engineering reports; contractor's reports;
                                          estimates, bids, plans, or specifications regarding repair work
                                          (whether planned, 6n progress, or completed); photographs; videos;
                                          or other materials relating to the Claimed Loss, along with any
                                          receipts, invoices, and other records of actual costs to repair or
                                          replace the Claimed Loss. This shall include all reports or analyses,
                                          including draft reports, prepared on behalf of Insured.

                                   b.     Proofs of loss for the Claimed Loss.

                                   C.     Documents relied on by the Insured in generating any proof of loss
                                          required or provided under the Policy.

                                   d.     Written communications exchanged between the Insured and
                                          lnsurer that refer or relate to Insured' s Claimed Loss, the Property,
                                          or damages, or otherwise relating to the Insured' s claim.

                                   e.     Photographs and videos of the Property taken for the purpose of
                                          documenting the condition of the Property, including photographs
                                          and videos of the Loss.
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                                  f.     Written communications, photographs, or estimates of damages
                                         sought from or paid by any other insurer related to the' Event.

                                  g.     The insurance policy with respect to any Other Insurance, and the
                                         claim numbers for claims made to recover Loss to the Property
                                         relating to the Event.

                                  h.     Appraisals or surveys of the Property condition within five years
                                         before, or any time after, the Event.

                                         If there has been an appraisal under the Policy, documents relating
                                         to the appraisal process.

                                         Any other document(s) on which the lnsured relies to support the
                                         Claimed Loss.

                     PART 3: INFORMATION AND DOCUMENTS TO BE PRODUCED BY THE INSURER.

                           (1)    Timing.

                                 Unless the court orders otherwise, the Insurer's Initial Discovery responses
                                 must be provided within 45 days after the Insurer has submitted a
                                 responsive pleading or motion (its first filing in this Court in response or
                                 answer to the plaintiffs claim). The disclosures related to Insurers and the
                                 use of the term "Insurer" under this Part shall extend to anyone acting for or
                                 on behalf of the Insurer in relation to the claim of the Insured, including the
                                 employees, contractors, and agents of either the Insurer or anyone
                                 providing services to the Insurer related to the Insured's claim or Claimed
                                 Loss.

                           (2)   Information to be produced by the Insurer:

                                 a.      If there is a dispute over coverage, in whole or in part, an
                                         explanation of- the Insurer's reason for the denial of coverage,
                                         including:
                                                i.   Any exclusions or exceptions, or other coverage or
                                                       legal defenses;
                                                ii.    The factual basis for any exclusion, limitation,
                                                       exception, or condition-based dispute or defense;
                                                iii.   Whether there is also a dispute as to the value or
                                                       amount of the Claimed Loss;
                                                iv.    Any other basis on which coverage was denied.

                                 b.      If there is a dispute over all or part of the valuation, an
                                        explanation of the Insurer's basis for disputing the value or amount
                                        of the Claimed Loss, including:
                                               i.    The Insurer's understanding of the nature of the
                                                     dispute;
                                               ii.   The amount the Insurer disputes and the basis for that
                                                       dispute, including any applicable Policy provisions that
                                                       the Insurer alleges or believes are relevant to the
                                                       dispute; and
                                                iii.   The amount the Insurer agrees to pay, if any, with
                                                       respect to any undisputed part of the Claimed Loss.

                                 C.     Any Policy terms or conditions that the Insurer alleges the Insured
                                        failed to comply with, including conditions precedent or other terms.


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                                    .1        Any payments previously made under the Palicy
                                                                                            relating to the
                                              Event.

                                        e     A general description of any other basis for
                                                                                           nonpayment of the
                                              Claimed Loss, in whole or in part.

                                     f.      Any other Event-related lawsuits filed for the
                                                                                                Property or the Insured.
                                    9•       Identify the adjuster(s) who handled the claim.

                                    h.       Identify the individual(s) who evaluated, recom
                                                                                             mended, made,
                                             approved, or rejected the claims decision.

                                    i.       Identify the field personnel, estimators, inspec
                                                                                                   tors, contractors,
                                             engineers, or other persons who participated in any invest
                                                                                                            igation of
                                             the claims or the claims process, had any part relatin
                                                                                                        g to Insurer's
                                             evaluation process for the claims, or upon who the
                                                                                                       Insurer relied
                                             upon or received information from concerning Insure
                                                                                                       r's evaluation
                                             process or claim decision; and identify anyone who had
                                                                                                           any role in
                                             drafting, editing, reviewing, or approving any report(s),
                                                                                                       evaluation(s),
                                             or inspection(s) on behalf of Insurer involving the Insure
                                                                                                        d's claim.
                                    j.       If preexisting damage is at issue in the litigation,
                                                                                                          a general
                                             description of any prior claims in the past ten years for the
                                                                                                           Property.
                             (4)   Complete and unaltered copies of the following documents be
                                                                                           to  produced
                                   by the Insurer:

                                   a.        The entire claim file maintained by the Insurer.

                                   b.        The complete Policy in effect at the time of the Event.

                                   C.       Assessments of the Claimed Loss, including: loss reports, expert
                                             reports that contain any description or analysis of the scope of loss
                                            or any defenses under the Policy, damage assessments, adjuster's
                                            reports, engineering reports, contractor's reports, and estima
                                                                                                            tes of
                                            repair or replacement. This shall include all reports or analyses,
                                            including all drafts, prepared as part of the evaluation or claims
                                            process involving Insured's claim by Insurer, or documents or
                                            records reviewed in any way in connection with Insurer's handling of
                                            the claim.

                                   d.       Photographs and videos of the Property taken for the purpose of
                                            documenting the condition of the Property, including photographs
                                            and videos of the Claimed Loss.

                                   e.       Any other evaluations of the Claimed Loss.

                                   f.       Documents containing recordings, transcripts, or notes of
                                            statements, conversations, or communications by or between the
                                            Insurer and the Insured relating to the Event.

                                   g.       Any claim log, journal, diary, or record maintained by the Insurer
                                            relating to the Claimed Loss. This includes all written records, written
                                            communications, records of oral communications, reports, audits, or
                                            other records, including any documents, envelopes, logs or other
                                            documents evidencing when Insurer came into possession of any
                                            such records, regarding any aspect of the Insured's claim or that are
                                            in any way relating to the Insurer's investigation into the Claimed
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                                                                Loss, Insurer's processing of Jnsured's claim (including adjustment,
                                                                evaluation, and handling), or lnsuret-'s claim decisian.

                                                       h.       The complete underwriiing tile maintained by the irisurer relatirrg tca
                                                                the Property, its conditions, or coverage.

                                                                Proofs of loss for the Claimed l..oss,

                                                                ]f tEiere has been an appraisal under the Policy, all documents
                                                                relating to the appraisal process:

                                                       k.       Any manuals, policies, directives, guidelines, instructions (whether
                                                                written, electronic, or otherwis.e), literature, or similar written
                                                                ma₹erials that would pertain to the Claimed i_oss, Hi,rric4 ne or to
                                                                siniiiat• types of claims, generally such that ihey would ther-efore Jae
                                                                appicable to the Hurricane Case irufluding the lnsured's claim. This
                                                                inc(udes any document that Insurer relied upon, or intends to rely
                                                                upon, pertaining to industry guidelines, standar'd practices, or
                                                                recommended practices for adjusting frrst party claims.

                                                   1.           For non-NFIP CJaims, written conln7unications exchanged betweerl
                                                                the Insured and Insurerthat referor relate to Insured's Clairned.E_oss,
                                                                Property, or damages, or otherwise relating to the Insured's cEaim.

                                                   M.          Any other document(s) on which the Ensurer relies to suppart its
                                                               defenses.
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                                 24T" JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                                                                  STATE OF LOUISIANA


                                                            IN RE: HURRICANE IDA CLAIMS




                                   The Disaster Discovery Protocols for. First-Party Insurance Property Damage

                           Cases for all cases involving first-party insurance property damage claims arising from

                           Hurricane Ida ("Hurricane Cases") are designed to achieve more efficient and targeted

:                          discovery. Prompt entry of a protective order will allow the parties to begin exchanging                    w4
                                                                                                                                       0
                                                                                                                                        w
                           documents and information without delay. This Interim Protective Order will remain                          (7
                                                                                                                        in             ao.
                           place until the parties agree to, or the Court orders, a different protective order, but absent             IRt
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                                                                                                                                       Y
                           agreement or court order, the Interim Protective Order will not apply to discovery                          0
                                                                                                                                   •   0
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                           conducted after the parties complete the Streamlined Settlement Program. The parties                        W
                                                                                                                                       ~
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                           may agree to use the Interim Protective Order throughout litigation.                                        m
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                                   IT IS HEREBY ORDERED that the following restrictions and procedures apply to                        0
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                           certain information, documents, and excerpts from documents and information the parties                     0
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                           exchange in response to the Disaster Discovery Protocols:


                                   1.       Any party may designate as "ConfidentiaP" any document, or information
                                            contained in or revealed in a document, provided in response to these
                                           Protocols or, if applicable, in subsequent discovery, if the party determines,
                                           in good faith, that the designation is necessary to protect the party.
                                           Information and documents a party designates as confidential will be
                                           stamped "CONFIDENTIAL." Confidential information or documents are
                                           referred to collectively as "Confidential Information."

                                  2.       Unless the court orders otherwise, the Confidential Information disclosed
                                           will be held and may be used by any person receiving the information solely
                                           in this litigation.



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                                                    lnterim Protective Order for Disaster Discovery Protocols
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                3.    If a party challenges another party's Confidential Information
                                                                                    designation,
                      counsel must make a good-faith effort to resolve the dispute.
                                                                                       If that is
                      unsuccessful, the challenging party may seek resolution by the
                                                                                          Court.
                      Nothing in this Interim Protective Order is an admission by any party
                                                                                             that
                      Confidential Information disclosed in this case is relevant or admissib
                                                                                                     le.
                      Each party specifically reserves the right to object to the use or admissib
                                                                                                    ility
                      of all Confidential lnformation disclosed, in accordance with applicable law
                      and court rules.

               4.     Information or documents designated as "Confidential" must not be
                      disclosed to any person, except:

                          a. the requesting party and counsel, including in-house or agency
                             counsel;

                          b. employees .of counsel assigned to and necessary to assist in the
                             litigation;

                         c. consultants or experts assisting in the prosecution or defense of the
                             litigation, to the extent deemed necessary by counsel;

                         d. any person from whom testimony is taken or is to be taken in this
                             litigation, but that person may be shown the Confidential Information
                             only in preparation for, and during, the testimony and may not retain
                             the Confidential Information;

                         e. The judge, the court staff, including the clerk, case manager, court
                             reporter, or other person with access to Confidential Information by
                             virtue of his or her position with the court, or the jury; and

                         f. The Special Master, Deputy Special Master, and any mediator
                            involved in resolving the case, who shall all be subject to these
                            confidentiality provisions.

               5.    Before disclosing or displaying Confidential Information to any person, a
                     party must;

                         a. inform the person of the confidential nature of the information and
                            documents; and

                         b. inform the person that the court has enjoined the use of the
                            information or documents for any purpose other than this litigation
                            and has enjoined the disclosure of that information or documents to
                            any other person.


                            Interim Protective Order for Disaster Discovery Protocols
                                             Hurricane Ida Litigation
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                                       6.    The Confidential Information may be dispiayed to and discuss
                                                                                                                ed with the
                                             persons identified in Paragraphs 4(c) and (d) only on
                                                                                                      the condition that
                                             before any such dispiay or discussion, each person must be
                                                                                                           asked to sign
                                             an agreement to be bound by this Order in the form detailed
                                                                                                         in Section 6(a),
                                             infra.

                                             6(a). The Confidentiality Agreement shall read as follows:

                                                    l have been informed by counsel that certain documents
                                                                                                                 or
                                                    information to be disciosed to me in connection with the matter
                                                    entitied [CASE CAPTION] have been designated as
                                                    confidential. I have been informed that any of the documents
                                                    or information labeled "CONFIDENTIAL" are confidential by
                                                    Order of the Court.
                                                    I hereby agree that I will not disclose any information
                                                    contained in the documents to any other person. I further
                                                    agree not to use this information for any purpose other than
                                                    this litigation.
                                                                                       DATED:
                                                    Signature of [NAME]


                                                                                      DATED:
                                                    Signature of Counsel


                                            6(b). If the person refuses to sign an agreement in the form attache
                                                                                                                   d, the
                                                    party seeking to disclose the Confidential Information may seek relief
                                                   from the court.
:                                     7.    The disclosure of a document or information without designating it as
                                            "Confidential Information" does not waive the right to designate the
                                            document or information as Confidential Information if the document or
                                            information is designated under this Order.

                                     8.     Documents or information filed with the court that is subject to confldential
                                            treatment under this Order, and any pleadings, motions, or other papers
                                            filed with the court disciosing any Confidential Information, must be filed
                                            under seal to the extent permitted by the law, rules, or court orders, and
                                            must be kept under seal until the court orders otherwise. To the extent the
                                            court requires any further act by the parties as a precondition to fifing the
                                            documents or information under seal, the party filing the document or
                                            information is-responsibie for satisfying the requirements. If possibie, oniy
                                            the confidential parts of documents of information fifed with the court will be
                                            filed under seal.



                                                   interim Protective Order for Disaster Discovery Protocols
                                                                    Hurricane Ida Litigation
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                                           9.               At the conciusion of this litigation, the Confidential lnformation and any
                                                            copies must be prornptly (and in no event later than 60 days after entry of
                                                            finai judgment no longer subject to appeal) returned to the producing party
                                                            or certi#ied as destroyed, except that the parties' counsel may reta#n their
                                                            working fiies on the condition that those files will rernain confidential.
                                                            Nlaterials r`iled in the court will remain in the file unless the court orders ti'leir
                                                           return.

                                           10,              Producing doci.rments or information, including Confidentiai Infiorrnation, in
                                                            this iitigation does not waive attorney-client privilege or work-product
                                                            protection for ttie documents or information.

                                           This Order does not diministi the right of atly party to apply to the Court for a

                              different or additiona! Protective Order relating to Confidential lnforrtiation, to object to the

                              production of documents or information, to apply to the court for an o.rder compelling

                              production of documents or information, or to modify this Order. iajiy par"Ly may seek

                              enforcement of tfhis Order.
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                             24T" JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                                                                  STATE OF LOUISIANA


                                                        IN RE: HURRICANE IDA CLAIMS


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                                IT IS HEREBY ORDERED that the following individuals shall supplement and
                       comprise the Appointed Neutrals referenced in the Standing Case Management Order,
                       Section 3(B)(2)(a), infra, and are hereby appointed and shall proceed with all reasonable
                       diligence and shall exercise their rights and responsibilities under the Streamlined
                       Settlement Process {"SSP") as the Special Master may direct.
                                         (2)       Approved Neutrals. The Court hereby designates and appoints the
                                               following individuals as "neutrals" (mediators) for the SSP:
                                                   (a) Any person designated by the Special Master after
                                                              consultation with the Court who is qualified pursuant to R.S.
                                                              13:4165(F)(5)(6), including:
                                                              Hon. Carolyn Gill-Jefferson (ret.) Hon. "Rusty" Knight (ret.)
                                                              Hon. Cornelius Regan (ret.)           Hon.Ronald J. Sholes (ret.)
                                                              Hon. Franz Zibilich (ret.)            Ashley Bass, Esq.
                                                              Jacques Bezou, Esq.                   Hon. Glenn Ansardi (ret.)
                                                              Blair C. Constant, Esq.               Robert Raymond, Esq.
                                                              Michelle Craig, Esq.                  Bobby M. Harges, Esq.
                                                              Fred Herman, Esq.                     Ross Legarde, Esq.
                                                              Donald Massey, Esq.                   Jonathan Pedersen, Esq.
                                                              Roger A. Javier, Esq.                 Chadwick J. Mollere, Esq.
                                                              Ronald L. Faia, Jr., Esq.             Brian Reuter, Esq.
                                                              Joseph Hassinger, Esq.                Brigid Collins, Esq.
                                                              Stacy Palowsky, Esq.                 Charles Cusimano, IV, Esq.
                                                              Christy Remy, Esq.                    Harold Adkins, Esq.
                                                              David Bienvenu, Esq.                  Mark Tauzier, Esq.
                                                              Jack Morris, Esq,                     Lacy Smith, Esq.
                                                              Dustin Carter, Esq.                   Eric Nowak, Esq.



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                                                Hurricane Ida Litigation, Exhibit A: List of Appointed Neutrals


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                                .TEJDGE S•COTT U. S£;HLEGEL                                                                                JUDGE F.RA?ti'K A. f3RINDISi
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            R. KYLE ARDOIN
         -SECRETARY OF STATE
             P.O. BOX 94125                                       9489 0092 0027 6568 6739.28 Ja
       BATON ROiJGE, LA 70804-9125 '


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                                                            GEOVERA SPECIALTY INSURANCE COMPANY
                                                            C/O CORPORATION SERVICE COMPANY
                                                            450 LAUREL STREET, 8TH FLOOR
                                                            BA.TON ROUGE, LA 70801 -
